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                                                Main Document     Page 1 of 3



Attorney or Party Name, Address, Telephone                & FAX              FOR COURT USE ONLY
Nos., State Bar No. & Email Address

 STANLEY D. BOWMAN, SBN 75896
 ALLEGIANCE     LAW OFFICES, AP.C.
 700 N. Pacific Coast Hwy, Suite 202-A
 Redondo Beach, CA 90277
 T:(310) 937-45291 F:(310) 937-4440
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o     Debtor(s) appearing without an attorney
[!I   Attorney for Debtor(s)

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA· LOS ANGELES

In re:                                                                        CASE NO.:      1..•. \ ~ - t::>    \< -   'l.   0 S"SJ      -(btl
 Mary Hanizel Agaza Fuentes                                                   CHAPTER: 7

                                                                                     DECLARATION BY DEBTOR{S)
                                                                                AS TO WHETHER INCOME WAS RECEIVED
                                                                                FROM AN EMPLOYER WITHIN 60 DAYS OF
                                                                                         THE PETITION DATE
                                                                                              [11 U.S.C. § 521(a)(1 )(8)(iv)]

                                                                                                       [No hearing required]
                                                              Debtor(s).

Debtor(s} provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor(s} filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1 }(B)(iv):

Declaration of Debtor 1

1.    [t1 I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct:

          During the 60-clay period before the Petition Date (Check onlv ONE box below):

          [V7 I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
               employment income I received from my employer during this 60-day period. (If the Debtor's social security
               number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
               number(s) before filing this declaration.}

          r    I was not paid by an employer because I was either self-employed only, or not employed.




Date:     09/10/2018
                                Mary Hanizel Agaza Fuentes
                                           Printed name of Debtor 1


          This form is mandatory.   It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                             Page 1                                        F 1002·1.EMP.lNCOME.DEC
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D
..  Individual appearing without attorney
o   Attorney for Debtor
                                           UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA· LOS ANGELES

 In re:                                                                      CASE NO.:
 Mary Hanizel Agaza Fuentes                                                  CHAPTER: 7



                                                                                   SUMMARY OF AMENDED SCHEDULES,
                                                                                        MASTER MAILING LIST,
                                                                                        ANDIOR STATEMENTS
                                                                                            [LBR 1007-1(c)]
                                                               Debtor(s)


 A filing fee is required to amend Schedules D or ElF (see Abbreviated Fee Schedule on the Court's website
 www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is required as an
 attachment if creditors are being added to the Schedule D or E/F.
 Are one or more creditors being added?       Yes  0 No      Iil'
  The followingschedules, master mailing list or statements (check all that apply) are being amended:
     o ScheduleAlB         0 Schedule C             0 Schedule D            0 Schedule ElF            0 Schedule G
     o ScheduleH           0 Schedule I             0 ScheduleJ             0 ScheduleJ-2             0 Statement of FinancialAffairs
     o StatementAbout Your Social Security Numbers                  0 Statementof Intention           0 Master Mailing List
      o Other (specify)   Form 1002-1        Emp    Inc Dec

  IIwe declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
  statementsare true and correct.

  Date: 09/28/2018



                                                                        Debtor 2 (joint Debtor) Signature (if applicable)
  NOTE: It is the responsibility of the Debtor, or the Debtor's attorney, to serve copies of all amendments on all creditors
        listed in this Summary of Amended Schedules, Master Mailing list, and/or Statements, and to complete and file
        the attached Proof of Service of Document.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

   Dftcember 2015                                                         Page 1                              F 1007-1.1.AMENDED.SUMMARY
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.                        My business address is:
700 N. Pacific Coast Highway #202-A
Redondo Beach, CA 90277


A true and correct copy of the foregoing document entitled (specify): SUMMARY OF AMENDED SCHEDULES, MASTER
MAILING LIST, AND/OR STATEMENTS [LBR 1007-1(c)] will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
   09/28/2018      , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
David M Goodrich (TR) dgoodrich@wgllp.com,
Valerie Smith claims@recoverycorp.com
 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


                                                                                       o    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 09/28/2018                      , I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
  Honorable Barry Russell
  United States Bankruptcy Court
  Central District of California
  Edward R. Roybal Federal Building and Courthouse
  255 E. Temple Street, Suite 1660/ Courtroom 1668
  Los Angeles, CA 90012
                                                                                       o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                        o    Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States that the f?fi2re ing is true and correct.


   09/28/2018
  Date
                         Gerald Reiff
                                 Printed Name
                                                                                            0
                                                                                        --------~~------------------------
                                                                                             Sig at e


            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California

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